         Case 1:19-cv-10498-LAK Document 139 Filed 11/19/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

BARBARA DELUCA, DREW R. NAYLOR, and
PEGGY ROLLO on behalf of themselves and other
similarly situated limited partners,

       Plaintiffs,                                       Case Number: 1:19-cv-10498 (LAK)

       vs.

GPB AUTOMOTIVE PORTFOLIO LP, et al.,

       Defendants.


          WAIVER OF SERVICE OF SUMMONS OF AMENDED COMPLAINT

TO:    Daniel Berger
       Grant & Eisenhofer P.A.
       485 Lexington Avenue
       New York, NY 10017

       I, Kevin M. McDonough, an attorney Latham & Watkins LLP, counsel for defendant

Crowe LLP (“Defendant”), having received Plaintiffs Barbara Deluca, Drew R. Naylor, and

Peggy Rollo’s (“Plaintiffs”) waiver of service on November 18, 2021, waive service of the

summons of the Amended Complaint (ECF No. 132).

       In accordance with Fed. R. Civ. Proc. Rule 4(d), I acknowledge receipt, along with

2 copies of this waiver and Fed. R. Civ. Proc. Rule 4, a copy of the Amended Complaint, and a

prepaid method of returning this waiver to Plaintiffs.

       Pursuant to Fed. R. Civ. Proc. Rule 4(d)(3), Defendant’s deadline to return this executed

waiver to Plaintiffs is December 2, 2021, within thirty (30) days of receipt of this waiver.

       Pursuant to Fed. R. Civ. Proc. Rule 4(d)(3) and the Stipulation to Stay the Action As to

All Defendants, entered on May 21, 2021 (Dkt. No. 115), I understand that, provided this waiver
         Case 1:19-cv-10498-LAK Document 139 Filed 11/19/21 Page 2 of 3




is returned to Plaintiffs by December 2, 2021, Defendant’s deadline to respond to the Amended

Complaint is sixty (60) days after the stay is lifted in the above-captioned action.

        I understand that, in accordance with Fed. R. Civ. Proc. Rule 4(d)(5), Defendant will

retain all defenses of objections to the lawsuit, the court’s jurisdiction, and the venue of the

action but will waive any objections for nonservice of the summons of the Amended Complaint,

        I also understand that, should Defendant fail to timely return this waiver, Defendant will

be held liable for the costs of service and/or attorneys’ fees and reasonable expenses incurred to

collect said costs.



Dated: November 18, 2021                                      __________________________
                                                              Kevin M. McDonough
                                                              LATHAM & WATKINS LLP
                                                              1271 Avenue of the Americas
                                                              New York, NY 10020
                                                              kevin.mcdonough@lw.com
                                                              Tel: (212) 906-1246

                                                            Counsel for Defendant Crowe LLP




                                                  2
         Case 1:19-cv-10498-LAK Document 139 Filed 11/19/21 Page 3 of 3




                 Duty to Avoid Unnecessary Expenses of Serving a Summons

        Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate
in saving unnecessary expenses of serving a summons and complaint. A defendant who is
located in the United States and who fails to return a signed waiver of service requested by a
plaintiff located in the United States will be required to pay the expenses of service, unless the
defendant shows good cause for the failure.

       “Good cause” does not include a belief that the lawsuit is groundless, or that it has been
brought in an improper venue, or that the court has no jurisdiction over this matter or over the
defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and
objections, but you cannot object to the absence of a summons or of service.

        If you waive service, then you must, within the time specified on the waiver form, serve
an answer or a motion under Rule 12 on the plaintiff and file a copy with the court. By signing
and returning the waiver form, you are allowed more time to respond than if a summons had
been served.




                                                 3
